         Case 4:05-cr-00245-BLW Document 61 Filed 09/26/06 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



UNITED STATES OF AMERICA,                        )
                                                 )
      Plaintiff,                                 )      Case No. CR 05-245-E-BLW
                                                 )
v.                                               )      REPORT AND
                                                 )      RECOMMENDATION
JAMES JOHN COOK,                                 )
                                                 )
     Defendant.                                  )
_____________________________________)

      On September 25, 2006 Defendant appeared before the undersigned United States

Magistrate Judge to enter a change of plea pursuant to a written plea agreement.

Defendant executed a written waiver of the right to have the presiding United States

District Judge take his/her change of plea. Thereafter, the Court explained to Defendant

the nature of the charges, the maximum penalties applicable, his/her constitutional rights,

the effect of the Sentencing Guidelines, and that the District Judge would not be bound by

the agreement of the parties as to the penalty to be imposed.

      Having conducted the change of plea hearing and having inquired of Defendant and

his/her counsel, and counsel for the United States, the Court concludes that there is a

factual basis for Defendant’s plea of guilty, and that it was entered voluntarily and with

full knowledge of the consequences, and that the plea should be accepted.
        Case 4:05-cr-00245-BLW Document 61 Filed 09/26/06 Page 2 of 2




      Based upon the foregoing, this Court recommends that the District Court accept

Defendant’s plea of guilty to Count One of the Indictment.

                                                DATED: September 26, 2006.



                                                Honorable Larry M. Boyle
                                                Chief U. S. Magistrate Judge
